            Case 19-33079-swe11                   Doc 1      Filed 09/13/19 Entered 09/13/19 15:55:46                               Desc Main
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Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF TEXAS

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Pine Creek Medical Center, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed          FDBA Pine Creek Medical Center, LLP
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  9032 Harry Hines Boulevard
                                  Dallas, TX 75235
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Dallas                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       pinecreekmedicalcenter.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    Pine Creek Medical Center, LLC                                                                Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 6221

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:
                                                                  Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                 When                                  Case number
                                                  District                                 When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                     Relationship
                                                  District                                 When                              Case number, if known




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Debtor   Pine Creek Medical Center, LLC                                                            Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                       50-99                                            5001-10,000                                 50,001-100,000
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999


15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




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Debtor    Pine Creek Medical Center, LLC                                                           Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      September 13, 2019
                                                  MM / DD / YYYY


                             X   /s/ Mark D. Shapiro                                                      Mark D. Shapiro
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Chief Restructuring Officer




18. Signature of attorney    X   /s/ Buffey E. Klein                                                       Date September 13, 2019
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Buffey E. Klein 24032515
                                 Printed name

                                 Husch Blackwell LLP
                                 Firm name

                                 1900 N. Pearl Street, Suite 1800
                                 Dallas, TX 75201-2467
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     214-999-6152                  Email address      buffey.klein@huschblackwell.com

                                 24032515 TX
                                 Bar number and State




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 Fill in this information to identify the case:
 Debtor name Pine Creek Medical Center, LLC
 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS                                                                                   Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 ARTHREX INC.                                                    Merchandise/Servi                                                                                      $241,800.49
 PO BOX 403511                                                   ces Purchased
 ATLANTA, GA
 30384-3511
 BOSTON                                                          Merchandise/Servi                                                                                      $355,465.81
 SCIENTIFIC                                                      ces Purchased
 CORPORATION
 PO BOX 951653
 DALLAS, TX
 75395-1653
 CARDINAL                                                        Merchandise/Servi                                                                                      $519,126.63
 851 HENERIETTA                                                  ces Purchased
 CREEK RD
 REANOKE, TX
 76262
 CPM Medical                                                     Consumer Debt          Contingent                                                                      $266,520.30
 Consultants, LLC                                                lawsuit                Unliquidated
 c/o William                                                     (DC-19-05856)          Disputed
 McLaughlin
 1565 N. Central
 Expwy., Suite 200
 Richardson, TX
 75080
 CPM MEDICAL                                                     Merchandise/Servi                                                                                      $251,568.30
 CONSULTANTS,                                                    ces Purchased
 LLC
 3004 NOTTINGHAM
 DRIVE
 MCKINNEY, TX
 75070
 DALLAS COUNTY                                                   Government                                                                                             $869,616.79
 HOSITAL DISTRICT                                                Reimbursement
 LPPF
 GOVERNMENT
 REIMBURSEMENT
 8435 N. STEMMON
 DALLAS, TX 75247


Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    Pine Creek Medical Center, LLC                                                                     Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 DALLAS MEDICAL                                                  Merchandise/Servi                                                                                      $205,859.06
 CENTER                                                          ces Purchased
 7 MEDICAL
 PARKWAY
 FRAMERS BRANCH,
 TX 75381-9094
 DEPUY SYNTHES                                                   Merchandise/Servi                                                                                      $393,634.17
 SALES, INC.                                                     ces Purchased
 PO BOX 8538-662
 PHILADELPHIA, PA
 19171-0662
 GLOBUS MEDICAL                                                  Merchandise/Servi                                                                                      $367,914.77
 PO BOX 203329                                                   ces Purchased
 DALLAS, TX
 75320-3329
 MEDICAL                                                         Merchandise/Servi                                                                                      $555,942.65
 MANAGEMENT                                                      ces Purchased
 SOLUTION, LLC
 PO BOX 25232
 DALLAS, TX 75225
 Medical                                                         Consumer Debt          Contingent                                                                      $800,000.00
 Management                                                      lawsuit                Unliquidated
 Solutions, LLC                                                  (DC-19-06452)          Disputed
 408 Black Castle
 Drive
 The Colony, TX
 75056
 MEDTRONIC USA                                                   Merchandise/Servi                                                                                      $332,377.77
 INC (PAIN &                                                     ces Purchased
 PACEMKR)
 PO BOX 848086
 DALLAS, TX
 75284-8086
 NOBILIS HEALTH                                                  Merchandise/Servi                                                                                    $1,111,345.17
 8080 PARK LANE                                                  ces Purchased
 SUITE 400
 DALLAS, TX 75231
 PARTNERS                                                        Merchandise/Servi                                                                                    $3,969,346.91
 SURGICAL OF PINE                                                ces Purchased
 CREEK
 220 POST OAK
 BLVD SUITE 1525
 HOUSTON, TX
 77056
 PSG-PINE CREEK                                                  Merchandise/Servi                                                                                    $1,096,659.45
 MANAGEMENT, LLC                                                 ces Purchased
 BBVA Compass
 Plaza 2200 Post Oak
 Blvd, S
 Houston, TX 77056




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Debtor    Pine Creek Medical Center, LLC                                                                     Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 SPINE STAR, LLC                                                 Merchandise/Servi                                                                                      $576,155.50
 908 AUDELLIA RD                                                 ces Purchased
 STE 200 PMB 338
 RICHARDSON, TX
 75081
 Spirit Master                                                   Property Lease for                                                                                   $2,248,394.56
 Funding II, LLC                                                 9032
 2727 N. Harwood
 Street, Suite 300
 Dallas, TX 75201
 STRYKER                                                         Merchandise/Servi                                                                                      $406,308.30
 ORTHOPAEDICS                                                    ces Purchased
 PO BOX 93213
 CHICAGO, IL
 60673-3213
 SYNERGY                                                         Merchandise/Servi                                                                                      $311,867.15
 SURGICAL                                                        ces Purchased
 701 E PLANO PKWY
 STE 506
 PLANO, TX 75074
 ZIMMER BIOMET                                                   Merchandise/Servi                                                                                      $237,865.16
 PO BOX 840166                                                   ces Purchased
 DALLAS, TX
 75284-0166




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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                          4-WEB, INC.
                          PO BOX 671718
                          DALLAS, TX 75267-1718


                          4060 SPINE INC.
                          5706 E. MOCKINGBIIRD LANE SUITE 115-181
                          DALLAS, TX 75206


                          7 SPINE GROUP
                          125 S MAIN STREET
                          FORT WORTH, TX 76104


                          A.M. SURGICAL, INC
                          222 MIDDLE COUNTRY RD STE 202
                          SMITHTOWN, NY 11787


                          AAF INTERNATIONAL
                          24828 NETWORK PLACE
                          CHICAGO, IL 60673-1248


                          ABBOTT LABORATORIES
                          PO BOX 100997
                          ATLANTA, GA 03038-4099


                          ABBOTT LABORATORIES INC
                          1380 SOUTH LOOP ROAD
                          ALAMEDA, CA 94502


                          ABILITY NETWORK INC
                          PO BOX 856015
                          MINNEAPLOIS, MN 55485-6015


                          ACADIAN AMBULANCE
                          6505 WEST PARK BLVD #306-362
                          PLANO, TX 75093
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                      ACCENT INSURANCE RECOVERY SOLUTIONS
                      PO BOX 952366
                      ST. LOUIS, MO 63195-2366


                      ACCESS PHYSICIANS
                      PO BOX 670347
                      DALLAS, TX 75267-0347


                      ACCLARENT, INC
                      16888 COLLECTION CENTER DR
                      CHICAGO, IL 60693-0168


                      ACIST MEDICAL SYSTEM INC.
                      7905 FULLER RDAD
                      EDEN PRAIRE, MN 55344


                      ACUMED LLC
                      7995 COLLECTION CENTER DRIVE
                      CHICAGO, IL 60693


                      ADAM HILL
                      6216 COPERHILL DRIVER
                      DALLAS, TX 75248


                      ADMINISTRATIVE CONSULTANT SVC, LLC
                      PO BOX 3368
                      SHAWNEE, OK 74802


                      ADVANCE MEDICAL DESIGNS
                      1241 ATLANTA INDUSTRIAL DR
                      MARIETTA, GA 30066


                      ADVANCED MEDICAL TRAINING
                      2126 BLOSSOM LANE
                      RICHARDSON, TX 75081
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                      ADVANCED ORTHO SOLUTIONS
                      3203 KASHIWA ST
                      TORRANCE, CA 90505


                      AESCULAP
                      PO BOX 780426
                      PHILADELPHIA, PA 19178-0426


                      AETNA, INC.
                      PO BOX 14079
                      LEXINGTON, KY 40512-4079


                      AGILITI HEALTH, INC.
                      PO BOX 851313
                      MINNEAPOLIS, MN 55485-1313


                      AIRGAS USA, LLC
                      PO BOX 676015
                      DALLAS, TX 75267-6015


                      ALEJANDRO SINGER MD
                      3611 SWISS AVE
                      DALLAS, TX 75204


                      ALIMED,INC.
                      PO BOX 206417
                      DALLAS, TX 75320


                      ALLEN FINES
                      137 GYPSUM VALLEY DRIVE
                      IDABEL, OK 74745


                      ALLEN MEDICAL SYSTEMS
                      100 DISCOVERY WAY
                      ACTON, MA 01720
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                      ALLERGAN USA, INC.
                      12975 COLLECTION CENTER DR
                      CHICAGO, IL 60693


                      ALLIANT STAFFING SERVICES
                      3 BETHESDA METRO CENTER STE 460
                      BETHESDA, MD 20814


                      AMELIA RAMIREZ
                      433 NW 20 STREET
                      GRAND PRAIRIE, TX 75050


                      AMERICAN MEDICAL ASSOCIATION
                      330 N. WABASH ABE STE 39300
                      CHICAGO, IL 60611-5885


                      AMERICARE INFUSION CENTERS,LLC
                      2790 LAKE VISTA DRIVE
                      LEWISVILLE, TX 75067


                      Americorp Financial, LLC
                      c/o Kristiana A. Ickes, VP Operations
                      877 South Adams Road
                      Birmingham, MI 48009


                      AMERICORP FINANCIAL, LLC
                      PO BOX 633559
                      CINCINNATI, OH 45263-3559


                      Americorp Financial, LLC
                      c/o Kristiana A. Ickes, VP Operations
                      877 South Adams Road
                      Birmingham, MI 48009


                      ANA MCDANIEL
                      PO BOX 1207
                      GRAPEVINE, TX 76099
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                      Andrew P. Price
                      Norton Rose Fulbright US LLP
                      1301 McKinney, Suite 5100
                      Houston, TX 77010-3095


                      Andrew P. Price
                      Norton Rose Fulbright US LLP
                      1301 McKinney, Suite 5100
                      Houston, TX 77010-3095


                      ANESTHESIA ALLIANCE OF DALLAS
                      700 HIGHLANDER BLVD SUITE 415
                      ARLINGTON, TX 76015


                      ANESTHESIA ALLIANCE OF DALLAS,P.A
                      700 HIGHLANDER BLVD SUITE 415
                      ARLINGTON, TX 76015


                      ANESTHESIA ALLIANCE OF DALLAS,PA
                      700 HIGHLANDER BLVD SUITE 415
                      ARLINGTON, TX 76015


                      ANTHONY BERRY
                      420 PERSIMMON DR
                      GRAND PRAIRIE, TX 75052


                      ANTHONY BURCH
                      3000 MOOUNT CREEK PARKWAY
                      DALLAS, TX 75211


                      APRIL EATON
                      391 E LAS COLINAS BLVD #396
                      IRVING, TX 75039


                      APWU
                      PO BOX 1358
                      GLEN BURNIE, MD 21060
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                      ARMSTRONG MEDICAL INDUSTRIES, INC.
                      575 KNIGHSBRIDE PKWY
                      LINCOLNSHIRE, IL 60069-0700


                      Arnold Shokouhi
                      McCathern, PLLC
                      3710 Rawlins Street, Suite 1600
                      Dallas, TX 75219


                      ARTHREX INC.
                      PO BOX 403511
                      ATLANTA, GA 30384-3511


                      ASCISTUS, LLC
                      3507 SCARSDALE ROAD
                      NASHVILLE, TN 37215


                      ASHLEIGH ABBOTT
                      1836 W DAVIS STREET
                      DALLAS, TX 75208


                      ASTURA MEDICAL
                      3186 LIONSHED AVE SUITE 100
                      CARLSBAD, CA 92010


                      ATMOS ENERGY
                      PO BOX 78108
                      PHOENIX, AZ 85062-8108


                      ATT
                      PO BOX 5001
                      CARL STREAM, IL 60197-5001


                      ATT
                      PO BOX 277019
                      ATLANTA, GA 30384-7019
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                      ATT
                      PO BOX 5019
                      CARL STREAM, IL 60197-5019


                      ATT MOBILITY
                      PO BOX 650553
                      DALLAS, TX 75265-0553


                      AUTOLOGOUS BLOOD TECHNOLOGY, LLC
                      906 W. MCDERMOTT DR SUITE 116-173
                      ALLEN, TX 75013-6510


                      AXOGEN, INC.
                      13859 PROGERESS BLVD SUITE 100
                      ALACHUA, FL 32615


                      BALA GIRI, M.D.
                      2704 WELBORN UNIT G
                      DALLAS, TX 75219


                      BARD ACCESS SYSTEM, INC.
                      PO BOX 75767
                      CHARLOTTE, NC 28275


                      BASS SURGICAL, LLC
                      16206 MILL POINT
                      HOUTSON, TX 77059


                      BAXTER CLEANCARE
                      114 E NIBLICK STREET
                      LONGVIEW, TX 75604


                      BAXTER HEALTHCARE
                      ONE BAXTER PARKWAY
                      DEERFIELD, IL 60015
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                      BAXTER HEALTHCARE CORP
                      ONE BAXTER PARKWAY DF3-2E
                      DEERFIELD, IL 60015


                      BAYER HEALTHCARE
                      1 BAYER DRIVE
                      INDIANOLA, PA 15051


                      BEACON HILL STAFFING GROUP, LLC
                      PO BOX 846193
                      BOSTON, MA 02284-6193


                      BEACONMEDAES LLC
                      1059 PARAGON WAY
                      ROCK HILL, SC 29730


                      BEATTY
                      9345 151ST AVE NW
                      REDMOND, WA 98052


                      BEAVER-VISITEC INTERNATIONAL,INC.
                      411 WEAVERLEY OAKS ROAD
                      WALTHAM, MA 02452


                      BECKMAN COULTER, INC.
                      DEPT CH 10164
                      PALATINE, IL 60055-0164


                      BEEKLEY CORPORATION
                      ONE PRESTIGE LANE
                      BRISTOL, CT 06010


                      BENITO DOMINGUEZ
                      3050 SERVER AVENUE
                      DALLAS, TX 75216
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                      BETSY ROSS FLAG GIRLS, INC.
                      11005 GARLAND RD
                      DALLAS, TX 75218


                      Bill Liebbe
                      The Liebbe Firm
                      805 S. Broadway
                      Tyler, TX 75701


                      BIO-RAD LABORATORIES INC
                      PO BOX 849740
                      LOS ANGELAS, CA 90084-9740


                      BIOMET MICROFIXATION
                      75 REMITTANCE DRIVE SUTIE 3071
                      CHICAGO, IL 60675-3071


                      BIOTISSUE
                      8305 NW 27 STREET SUTIE 101
                      DORAL, FL 33122


                      BONE FOAM, INC
                      20175 COUNTRY ROAD 50
                      CORNCORAN, MN 55340


                      BONNIE HAYES
                      227 W LOUISIANA AVE
                      DALLAS, TX 75224


                      BOSS INSTUMENTS LTD
                      104 SOMMERFIELD DRIVE
                      GORDONSVILLE, VA 22942


                      BOSTON SCIENTIC NEUROMODULATION
                      PO BOX 952195
                      DALLAS, TX 75395-2195
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                      BOSTON SCIENTIFIC CORPORATION
                      PO BOX 951653
                      DALLAS, TX 75395-1653


                      BRANDY FORD
                      701 PARTRIDGE LANE
                      WHITEHOUSE, TX 75791


                      Brant S. Miller
                      Law Office of Brant S. Miller
                      17503 La Cantera Pkwy., Suite 104-610
                      San Antonio, TX 78257


                      BRIAN STRAUS MD
                      400 W LBJ FREEWAY STE 330
                      IRVING, TX 75063


                      BRUCE I PRAGER MD
                      1713 MESQUITE RD
                      SOUTHLAKE, TX 76092


                      BURKS MEDICAL CONSULTING
                      2364 HWY287 N SUITE 119
                      MANSFIELD, TX 76063


                      BUSINESS INTERIRORS
                      1111 VALLEY VIEW LANE
                      DALLAS, TX 75061


                      C M R Partners, Ltd.
                      c/o Echo Ridge, LLC
                      9080 Harry Hines Blvd., Suite 110
                      Dallas, TX 75235


                      C M R Partners, Ltd.
                      9080 Harry Hines Blvd., Suite 110
                      Dallas, TX 75235
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                      C.R. BARD INC.
                      PO BOX 75767
                      CHARLOTTE, NC 28275


                      CALL MD
                      PO BOX 2487
                      HALLANDALE, FL 33008


                      CANNEFAX CONSULTING
                      1066 OAK HOLLOW LANE
                      COMBINE, TX 75159


                      CANTEEN REFRESHMENT SERVICES
                      PO BOX 417632
                      BOSTON, MA 02241-7932


                      CARDINAL
                      851 HENERIETTA CREEK RD
                      REANOKE, TX 76262


                      Cardinal Health
                      7000 Cardinal Place
                      Dublin, OH 43017


                      CARDINAL HEALTH
                      3080 W-I20
                      GRAND PRAIRIE, TX 75052


                      CARDINAL HEALTH
                      3080 W-I20
                      GRAND PRAIRIE, TX 75052


                      CARDINAL HEALTH 108, INC
                      PO BOX 857384
                      DALLAS, TX 75284-7384
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                      CAREFUSION 2200, INC.
                      25146 NETWORK PLACE
                      CHICAGO, IL 60673-1250


                      CARESTREAM HEALTH INC
                      DEPT CH 19286
                      PALATINE, IL 60055-9286


                      CARL ZEISS MEDITEC,INC.
                      PO BOX 100372
                      PASADENA, CA 91189-0372


                      CARTER BLOODCARE
                      PO BOX 916068
                      FORT WORTH, TX 76191-6068


                      CARTER BRYANT
                      600 ALABASTER PLACE
                      CEDAR HILL, TX 75104


                      CASSANDRA LEWIS
                      153 BUSHEL LANE
                      DALLAS, TX 75241


                      CDW GOVERNMENT LLC
                      230 N MILWAUKEE AVE
                      VERNON HILLS, IL 60061


                      CEDRIC MAYS
                      7036 BETHLEHEM DRIVE
                      GRAND PRAIRIE, TX 75054


                      CELIA GONZALEZ
                      7355 STONE PINE LN
                      HOUSTON, TX 75041
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                      CETERIX ORTHOPAEDICS
                      6500 KAISER DRIVER SUITE 120
                      FERMONT, CA 94555


                      CHATONYA TATUM
                      6850 S COCKERELL HILL RD APT 1615
                      DALLAS, TX 75236


                      CHEFWORKS
                      12325 KERRAN STREET
                      POWAY, CA 92064


                      CHRIS GALLAGHER MD
                      5600 W. LOVERS LANE SUITE 116-289
                      DALLAS, TX 75209


                      CHRIS MCNEIR
                      1209 VINCENT ST #306
                      FT WORTH, TX 76120


                      CHRISTI HEARON
                      7290 ASH STREET
                      FRISCO, TX 75034


                      CHRISTINA BARRYER
                      1306 PRESIDO AVE
                      DALLAS, TX 75216


                      CHRISTOPHER WEBER
                      1313 GLENWOOD DR
                      AZLE, TX 76020


                      CITY CAFE
                      5757 W Lovers Ln
                      Dallas, TX 75209
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                      CITY OF DALLAS
                      PO BOX 180819
                      DALLAS, TX 75218


                      CITY OF DALLAS
                      CITY HALL 2D SOUTH
                      DALLAS, TX 75277


                      CLEAVER BROOKS SALES & SERVICE
                      PO BOX 226865
                      DALLAS, TX 75222-6865


                      CLIA LABORATORY PROGRAM
                      11578 SORRENTO VALLEY RD
                      SAN DIEGO, CA 92121


                      CLIA WAVIED,INC.
                      11578 SORRENTO VALLEY RD
                      SAN DIEGO, CA 92121


                      CLIMATEC, LLC
                      PO BOX 51689
                      LOS ANGELAS, CA 90051-5989


                      COKER GROUP HOLDINGS, LLC
                      2400 LAKEVIEW PARKWAY SUITE 400
                      ALPHARETTA, GA 03009


                      Compass Bank
                      132 Austin Avenue
                      Weatherford, TX 76086


                      COMPTROLLER OF PUBLIC ACCTS
                      PO BOX 149355
                      AUSTIN, TX 78714-9355
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                      CONFORMIS
                      PO BOX 392311
                      PITSSBURGH, PA 15251-9311


                      CONMED LINVATEC
                      PO BOX 301231
                      DALLAS, TX 75303-1221


                      COOK MEDICAL, LLC
                      22988 NETWORK PLACE
                      CHICAGO, IL 60673-1229


                      COOK, INC.
                      22988 NETWORK PLACE
                      CHICAGO, IL 60673


                      COOPER SURGICAL
                      PO BOX 712280
                      CINCINNATI, OH 45271-2280


                      CORA FRENCH
                      337 VALLEY PARK DR
                      GARLAND, TX 75043


                      CORAZON RAMIREZ
                      1935 MEDICAL DISTRICT DRIVE
                      DALLAS, TX 75235


                      CORIN USA LIMITED
                      12750 CITRUS PARK LANE SUITE 120
                      TEMPA, FL 33625


                      Corporation Service Company
                      as Representative
                      PO Box 2576
                      UCCSPREP@CSCINFO.COM
                      Springfield, IL 62708
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                      COVIDIEN
                      15 HAMPSHIRE STREET
                      MANSFIELD, MA 02048


                      COWBOY CAB COMPANY INC
                      PO BOX 150125
                      DALLAS, TX 75215


                      CPM Medical Consultants, LLC
                      c/o William McLaughlin
                      1565 N. Central Expwy., Suite 200
                      Richardson, TX 75080


                      CPM MEDICAL CONSULTANTS, LLC
                      3004 NOTTINGHAM DRIVE
                      MCKINNEY, TX 75070


                      CrossFirst Bank
                      2021 McKinney Avenue, Suite 800
                      Dallas, TX 75201


                      CROWE HEALTHCARE RISK CONSULTING
                      PO BOX 74750
                      CHICAGO, IL 60694-4750


                      CSA MEDICAL
                      91 HARTWELL AVENUE
                      LEXINGTON, MA 02413


                      CUSTOM GREENSCAPING INC
                      1780 HURD DR
                      IRVING, TX 75038


                      CYNTHIA THOMPSON
                      502 LONG RIDGE WAY
                      MURPHY, TX 75094
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                      DALLAS COUNTY HOSITAL DISTRICT LPPF
                      GOVERNMENT REIMBURSEMENT 8435 N. STEMMON
                      DALLAS, TX 75247


                      Dallas County Tax Assessor-Collector
                      Attn: John R. Ames
                      1201 Elm Street, Suite 2600
                      Dallas, TX 75270


                      DALLAS MEDICAL CENTER
                      7 MEDICAL PARKWAY
                      FRAMERS BRANCH, TX 75381-9094


                      DAMIEN MALLAT MD
                      11311 CONCEPT BLVD
                      LARGO, FL 33773


                      DANIELLE HALL
                      1802 RIDGEVIEW STREET
                      MESQUITE, TX 75149


                      David C. McCue
                      McCue-Pauley & Associates, P.C.
                      15150 Preston Road, Suite 200
                      Dallas, TX 75248


                      De Lage Landen Financial Services Inc.
                      1111 Old Eagle School Road
                      Wayne, PA 19087


                      DEBBIE AUSTIN
                      2006 CASSIDY LANE
                      CORINTH, TX 76210


                      DENA A PUCKETT
                      1908 SHADOW TRAIL
                      PLANO, TX 75075
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                      DENTON REGIONAL MEDICAL CENTER
                      PO BOX 99400
                      LOUSIVILLE, KY 40269


                      DEPARTMENT OF THE TREASURY
                      INTERNAL REVENUE SERVICES CENTER
                      CINCINNATI, OH 45999-0009


                      DEPUY MITEK
                      5972 COLLECTIONS CENTER DRIVE
                      CHICAGO, IL 60693


                      DEPUY SPINE SALES, L.P
                      5972 COLLECTIONS CENTER DRIVE
                      CHICAGO, IL 60693


                      DEPUY SYNTHES JOINT RECON, INC.
                      5972 COLLECTIONS CENTER DRIVE
                      CHICAGO, IL 60693


                      DEPUY SYNTHES SALES, INC
                      PO BOX 8538-662
                      PHILADELPHIA, PA 19171-0662


                      DEPUY SYNTHES SALES, INC.
                      PO BOX 8538-662
                      PHILADELPHIA, PA 19171-0662


                      DERIC GENTRY
                      4717 FLORIST
                      WICHITA FALLS, TX 76302


                      DEROYAL INDUSTRIES
                      MSC 30316 PO BOX 415000
                      NASHVILLE, TN 37241-0316
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                      DESIGNS FOR VISION
                      4000 VETERANS MEMEORIAL HWY
                      BOHENIA, NY 11716


                      DIGITAL AIR CONTROL, INC
                      11251 NORTHWEST FREEWAY SUITE 200
                      HOUSTON, TX 77092


                      DIRK RODRIGUEZ MD
                      7515 GREENVILE AVE SUITE 1030
                      DALLAS, TX 75231


                      Dirk Rodriguez, M.D., P.A.
                      c/o Dirk Rodriguez
                      7515 Greenveille Avenue, Suite 1030
                      TX 75213


                      DJO SURGICAL
                      9800 METRIC BLVD
                      AUSTIN, TX 78758


                      DORIS BENNETT
                      200 JELLISON BLVD # 705
                      DUNCANVILLE, TX 75116


                      DR SHIVANI PATEL
                      5323 Harry Hines Blvd
                      Dallas, TX 75390


                      DR. OLAYINKO OGUNRO
                      7989 W. VIRGINIA DR
                      DALLAS, TX 75237


                      DR. RICHARD ALEXANDER
                      306 E. RANDOL MILL ROAD #136
                      ARLINGTON, TX 76011
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                      DSS DATA SHREDDING SERVICES
                      615 W 8TH STREET
                      HOUSTON, TX 77018


                      DUTCH OPTHALMIC USA
                      10 CONTINENTAL DR BUILD 1
                      EXETER, NH 03833


                      ECOLAB
                      PO BOX 32027
                      NEW YORK, NY 10087-2027


                      ED McANALLEY M.D.
                      700 HIGHLANDER BLVD SUITE 415
                      ARLINGTON, TX 76015


                      ELITE DOCUMENT TECHNOLOGY
                      400 N PAUL ST 13TH FLOOR SUITE 1340
                      DALLAS, TX 75201


                      Elizabeth M. Fraley
                      The Fraley Firm
                      901 Main Street, Suite 6300
                      Dallas, TX 75202


                      EMMA GRIGGS
                      210 MCMURRY AVE
                      DUNCANVILLE, TX 75116


                      ENDO CHOICE INC
                      PO BOX 200109
                      PITTSBURGH, PA 15251-0109


                      ENTELLUS MEDICAL
                      3600 HOLLY LANE NORTH SUITE 40
                      PLYMOUTH, MN 55447
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                      EPIMED INTERNATIONAL, INC
                      141 SAL LANDRIO DR CROSSROAD BUSINESS PA
                      JOHNSTON, NY 12095


                      EQUITABLE LIFE AND CASUALTY
                      PO BOX 2460
                      SALT LAKE CITY, UT 84110


                      ERBE USA, INCORPORATED
                      2225 NORTHWEST PARKWAY
                      MARIETTA, GA 30067


                      ERNEST FORSYTHE
                      7716 ROYAL LANE
                      DALLAS, TX 75230


                      ERNST AND YOUNG
                      3712 SOLUTIONS CENTER
                      CHICAGO, IL 60677-3007


                      ESUTURES.COM
                      9645 WEST WILLOW LN
                      MOKENA, IL 60448


                      Everbank Commercial Finance, Inc.
                      10 Waterview Blvd., 2nd Floor
                      Parsippany, NJ 07054


                      Everbank Commercial Finance, Inc.
                      10 Waterview Blvd.
                      Parsippany, NJ 07054


                      EXACTECH
                      2320 NW 66TH COURT
                      GAINSVILLE, FL 32653
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                      EXCLUSION SCREENING, LLC
                      2121 WISCONSIN AVE NW SUITE C2E
                      WAHSINGTON, DC 20007


                      EXTREMITY MEDICAL, LLC
                      300 INTERPACE PARKWAY SUITE 410
                      PARSIPPANY, NJ 07054


                      FEDERAL INSURANCE COMPANY
                      ATTN: LITIGATION MANAGEMENT UNIT CRUBB &
                      SIMSBURY, CT 06070


                      FEDEX
                      500 ROSS STREET LOCK BOX 360353 ROOM 154
                      PITTSBURGH, PA 15262


                      FIRST CALL YOUR STAFFING SOURCE
                      PO BOX 819 LOCK BOX # 1
                      SPERRY, OK 74073


                      First Premier Bank
                      P.O. Box 5519
                      Sioux Falls, SD 57117-5519


                      FOLSOM METAL PRODUCTS, INC.
                      153 CAHABA VAKLEY PKWY
                      PELHAM, AL 35124


                      FORESIGHT MEDICAL MANAGEMENT INC.
                      PO BOX 79
                      KITTERY PT, ME 03905


                      FORMFAST LLC
                      13421 MANCHESTER RD SUITE 208
                      ST LOUIS, MO 63131
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                      FORWARD ADVANTAGE
                      7255 N FIRST STREET SUITE 106
                      FRESNO, CA 93720


                      FRANK FEIGENBAUM MD
                      9080 HARRY HINES BLVD SUITE 220
                      DALLAS, TX 75235


                      FX SHOULDER USA
                      13465 MIDWAY ROAD SUITE 310
                      DALLAS, TX 75244


                      GARRATT CALLAHAN
                      50 INGLOLD ROAD
                      BURLINGAME, CA 94010


                      GE HEALTHCARE
                      PO BOX 641936
                      PITTSBURGH, PA 15264-1936


                      General Electric Capital Corporation
                      83 Wooster Heights Road
                      Danbury, CT 06810


                      GENERAL HOSPITAL SUPPLY
                      2844 GRAY FOX ROAD
                      MONROE, NC 28110


                      GERALDINE CHARLEBOIS
                      1721 E. BELTINE RD # 1323
                      COPPELL, TX 75019


                      GI SUPPLY
                      PO BOX 45730
                      BALTIMORE, MS 21297-5730
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                      GINNIE PRUITT
                      4809 HAYWOOD PKWY
                      DALLAS, TX 75232


                      GlassRatner Advisory & Capital Group LLC
                      c/o Mark Shapiro
                      3500 Maple Avenue, Suite 350
                      Dallas, TX 75219


                      GLENN FRANK
                      312 RILEY CREEK PLACE
                      FORTH WORTH, TX 76115


                      GLENNA BGOSCHERT
                      4526 CRANST ST
                      GRAND PRAIRIE, TX 75052


                      GLOBUS MEDICAL
                      PO BOX 203329
                      DALLAS, TX 75320-3329


                      GODAT EQUITY LTD
                      10427 Lennox Lane
                      Dallas, TX 75229


                      GOLDMAN, EVANS & TRAMELL LLC
                      10323 CROSS CREEK BLVD F
                      TEMPA, FL 33647


                      GRAINGER
                      DEPT 865762843 PO BOX 419267
                      KANSAS CITY, MO 64141-6267


                      GRAY, REED & MCGRAW
                      1300 POST OAK BLVD SUITE 2000
                      HOUSTON, TX 77056
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                      GROUP ONE SERVICES
                      250 DECKER DRIVE
                      IRVING, TX 75062


                      GULRUKH HOZRI
                      956 DUNKIRK LANE
                      ARLINGTON, TX 76017


                      HALYARD SALES,LLC
                      PO BOX 732583
                      DALLAS, TX 75373-2583


                      HANNAH MARSHALL
                      104 NW 6TH STREET
                      HUBBARD, TX 76648


                      HEAD & SPINE INSTITUTE OF TEXAS, LL
                      PO BOX 731767
                      DALLAS, TX 75373


                      HEALTHMARK GROUP
                      325 N SAINT PAUL STE 1650
                      DALLAS, TX 75201


                      HEATHER SWIMM
                      2606 CEDAR ELM LANE
                      GARLAND, TX 75043


                      HEMOSTATIX MEDICAL
                      8400 WOLF LAKE DRIVE #109
                      BARTLETT, TN 38133


                      HIRED HANDS INC
                      PO BOX 55275
                      HUST, TX 76054
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                      HOLOGIC INC
                      24506 NETWORK PLACE
                      CHICAGO, IL 60673-1245


                      HUDSON ENERGY SERVICES LLC
                      PO BOX 142109
                      IRVING, TX 75014


                      HUMANA MILITARY
                      PO BOX 7397
                      MADISON, WI 53707-7937


                      HYDROCISION
                      267 BOSTON ROAD STE 28
                      NORTH BILLERICA, MA 01862


                      I.T.S. USA
                      1778 PARK AVENUE, NORTH SUITE 200
                      MAITLAND, FL 32751


                      ICU MEDICAL SALES
                      PO BOX 848908
                      LOS ANGELAS, CA 90084-8908


                      IMP INNOVATIVE MEDICAL PRODUCTS,
                      87 SPRING LANE PO BOX 8028
                      PLAINVILLE, CT 06062


                      IMPLANTCAST AMERICA LLC
                      13465 MIDWAY ROAD SUITE 310
                      DALLAS, TX 75244


                      IN2BONES USA
                      6000 POPILAR AVE SUITE 115
                      MEMPHIS, TN 38119
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                      INDEMAND INTERPRETING
                      555 ANDOVER PARK W SUITE 201
                      TUKWILA, WA 98188


                      INHUNG SONG
                      1501 RAHLING ROAD
                      LITTLE ROCK, AR 72223


                      INNOVATION NEUROMONITORING
                      5000 ELDORADO PKWY STE 150-327
                      FRISCO, TX 75033


                      INSIGHT INVESTMENTS LLC
                      260 N. CHARLES LINBERGH DR ATTN: INSIGHT
                      SALT LAKE CITY, UT 84116


                      Insight Investments, LLC
                      c/o Christopher M. Czaja, Exec. VP
                      611 Anton Boulevard, Suite 700
                      Costa Mesa, CA 92626


                      Insight Investments, LLC
                      c/o Christopher M. Czaja, Exec. VP
                      611 Anton Boulevard, Suite 700
                      Costa Mesa, CA 92626


                      INSPERITY EMPLOYMENT SCREENING, LLC
                      PO BOX 841585
                      DALLAS, TX 75284-1585


                      INTEGRA LIFE SCIENCES CORP
                      PO BOX 404129
                      ATLANTA, GA 30384-4129


                      INTEGRA LIFE SCIENCES CORP.
                      PO BOX 404129
                      ATLANTA, GA 30384-4129
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                      INTEGRATED ULTRASOUND CONSULTANTS,
                      PO BOX 34811
                      FORTH WORTH, TX 76162


                      INTERFACE PEOPLE LP
                      2274 ROCKBROOK DR
                      LEWISVILLE, TX 75067


                      Internal Revenue Service
                      Centralized Insolvency Operations
                      P.O. Box 21126
                      Philadelphia, PA 19114-0326


                      INTERSECT ENT
                      1555 ADAM DRIVE
                      MENLO PARK, CA 94025


                      INVUITY, INC
                      DEPT CH 19705
                      PALATINE, IL 60055-9705


                      IPS ADVISORS
                      10000 N CENTRAL EXPWY STE 1100
                      DALLAS, TX 75231-2313


                      IRMA MUNOZ
                      1829 AVENUE E
                      GRAND PRAIRIE, TX 75051


                      IRMA PEREZ
                      5383 SOUTHERN BLVD APT 237
                      DALLAS, TX 75240


                      JAMES WILSON
                      3402 UNIVERSITY DR
                      ROWLETT, TX 75088
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                      JAMIE JENNINGS
                      340 PARK BROOK DRIVE
                      DALLAS, TX 75218


                      JANEY BOSWOOD
                      10951 STONE CANYON
                      DALLAS, TX 75230


                      JANI KING
                      4535 SUNBELT DRIVE
                      ADDISON, TX 75001


                      Jeffrey W. Ryan
                      Chamblee Ryan, P.C.
                      2777 Stemmons Frwy., Suite 1157
                      Dallas, TX 75207


                      JILL STOLL
                      1409 S LAMAR ST #956
                      DALLAS, TX 75125


                      JODY BLAYLOCK
                      6204 GETTYSBURG DR
                      ARLINGTON, TX 76002


                      John Alexander, M.D.
                      11970 North Central Expwy., Suite 600
                      Dallas, TX 75243


                      JOHN SANDERS
                      515 AVENUE G
                      DALLAS, TX 75203


                      John T. Cox III
                      Lynn Pinker Cox & Hurst, LLP
                      2100 Ross Avenue, Suite 2700
                      Dallas, TX 75201
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                      John T. Cox III
                      Lynn Pinker Cox & Hurst, LLP
                      2100 Ross Avenue, Suite 2700
                      Dallas, TX 75201


                      JOHNSON & JOHNSON HEALTHCARE
                      5972 COLLECTINS SIR
                      CHICAGO, IL 60693


                      JOHNSON & ROUNDTREE
                      PO BOX 2625
                      DEL MAR, CA 92014-2625


                      JOHNSON & ROUNDTREE
                      PO BOX 301599
                      DALLAS, TX 75303


                      JOHNSON & ROUNTREE
                      LBOX #1007 PO BOX 4829
                      HOUSTON, TX 77210


                      JOIMAX,INC
                      14 GOODYEAR SUITE 145
                      IRVING, CA 92618-3759


                      JOINT RESTORATION FOUNDATION
                      JFR ORTHO 6746 S REVERE PKW STE B-125
                      CENTENNIAL, CO 80112


                      JORDAN MOORE
                      2707 COLE AVE #210
                      DALLAS, TX 75201


                      JOSE DUQUE
                      3104 W NORTHGATE DRIVE #1030
                      IRVING, TX 75062
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                      JOSEPH VIROSLAV, MD
                      10100 N CENTRAL EXPWY SUITE 560
                      DALLAS, TX 75321


                      JUAN CARRASCO-OROZCO
                      1628 ROSSON ROAD
                      LITTLE ELM, TX 75068


                      JUSTIN PERRY
                      6467 MELODY LN APT 2059
                      DALLAS, TX 75231


                      K2 Capital Group LLC
                      6500 City West Parkway, Suite 401
                      Eden Prairie, MN 55344


                      KARL STORZ ENDOSCOPY-AMERICA, INC.
                      2151 E GRAND AVE
                      EL SEGUNDO, CA 90245


                      KCI USA Inc.
                      PO BOX 301557
                      DALLAS, TX 75303-1557


                      Key Equipment Finance,
                      a Division of Keybank National Assoc.
                      1000 S. McCaslin Blvd.
                      Louisville, CO 80027


                      KEY SURGICAL
                      PO BOX 74809
                      CHICAGO, IL 60694-4809


                      KIMBERLY BENGTSON
                      2502 LIVE OAK ST #327
                      DALLAS, TX 75204
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                      KRISTI TROPP
                      1510 WINTERBROOK CT
                      ALLEN, TX 75002


                      KRISTY HENDRICKS
                      227 COLD DRIVE
                      WAXAHACHIE, TX 75165


                      LABCORP
                      PO BOX 12140
                      BURLINGTON, NC 27216


                      LANAIR GROUP LLC
                      620 N BRAND BLVD 6TH FLOOW
                      GLENDALE, CA 91203


                      LARRY MACY
                      134 OAK BRANCH TRAIL
                      WAXAHACHIE, TX 75167


                      LARRY ONEAL
                      502 FREEMAN ST
                      MESQUITE, TX 75149


                      LCA Bank Corporation
                      1375 Deer Valley Drive, Suite 218
                      Park City, UT 84060


                      LEBANON HOLDINGS LLC
                      6988 LEBANON ROAD STE 102
                      FRISCO, TX 75034


                      LIFE NET HEALTH
                      PO BOX 79636
                      BALTIMORE, MD 21279-0636
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                      LILLIAN OCHS
                      4111 BROOKPORT DRIVE
                      GRAND PRAIRIE, TX 75229


                      LIMA, USA, INC.
                      2001 NORTH GREEN OAKS BLVD SUITE 100
                      ARLINGTON, TX 76006


                      LINDA FENNELL
                      1320 COLUMBINE CT
                      ARLINGTON, TX 76013


                      LIQUIDAGENTS HEALTHCARE, LLC
                      PO BOX 206831
                      DALLAS, TX 75320-6831


                      LONDON HOOKER
                      650 LEORA LN APT 1717
                      THE COLONY, TX 75056


                      LONE STAR COMMUNICATIONS, INC
                      1414 POST&PADDOCK SUITE 200
                      GRAND PRARIE, TX 75050


                      LUMIN MEDICAL
                      9809 S. FRANKLIN DR SUITE 301
                      FRANKLIN, WI 53132


                      LUZ GONZALEZ
                      409 GRAYWOOD CT
                      COPPELL, TX 75109


                      LYNNE ARMSTRONG
                      501 W SHORE DR
                      RICHARDSON, TX 75080
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                      MABLE JONES
                      1022 SUFFOLK LANE
                      CEDAR HILL, TX 75104


                      MAINE STANDARDS
                      221 US ROUTE 1
                      CUMBERLAND FORESIDE, ME 04110


                      MARILYN SALVADOR
                      1602 JOHN SMITH DRIVE
                      FORTH WORTH, TX 76114


                      MARJORIE MARTIN
                      1432 GRAND TETON DR
                      DALLAS, TX 75115


                      Mark A. Haney
                      Puls Haney, PLLC
                      301 Commerce Street, Suite 2900
                      Fort Worth, TX 76102


                      Mark E. Torian
                      Bradley Arant Boult Cummings LLP
                      4400 Renaissance Tower
                      1201 Elm Street
                      Dallas, TX 75270


                      MARK HAWKINS
                      806 W MAIN ST
                      MARLOW, OK 73055


                      MARK MURPHY
                      3033 BARDIN ROAD #201
                      GRAND PRAIRIE, TX 75052


                      MARK YEATTS
                      1308 CATES STREET
                      BRIDGPORT, TX 76426
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                      MARKETLAB, INC
                      DEPT 2506 PO BOX 11407
                      BIRINGHAM, AL 35246-2506


                      MARTHA MADRIGAL
                      5032 BRITTON RIDGE LANE
                      FORTH WORTH, TX 76179


                      MARY CARROL
                      1206 GLENWICK LANE
                      IRVING, TX 75060


                      MCCONNELL ORTHOPEDIC MFG.
                      PO BOX 8306
                      GREENVILLE, TX 75404


                      McKesson MEDICAL SURGICAL
                      PO BOX 933027
                      ATLANTA, GA 31193-3027


                      Med One Capital Funding - Texas L.P.
                      10712 S. 1300 East
                      Sandy, UT 84094


                      Med One Capital Funding, LLC
                      10712 S. 1300 East
                      Sandy, UT 84094


                      MED SHOP TOTAL CARE PHARMACY INC.
                      470 E LOOP 281
                      LONGVIEW, TX 75605


                      MEDACTA USA
                      PO BOX 848515
                      LOS ANGELAS, CA 90084-8515
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                      MEDADVANTAGE- ADVANTUM HEALTH
                      500 WEST JEFFERSON STREET SUITE 2310
                      LOUISVILLE, KY 40202


                      MEDICAL DISCS
                      4775 MOUNT DURBAN DRIVE
                      SAN DIEGO, CA 92117


                      MEDICAL MANAGEMENT SOLUTION, LLC
                      PO BOX 25232
                      DALLAS, TX 75225


                      Medical Management Solutions, LLC
                      408 Black Castle Drive
                      The Colony, TX 75056


                      MEDICAL PRODUCTS RESOURCE
                      917 LONE OAK ROAD SUITE 1000
                      EAGAN, MN 55121-2266


                      MEDISOLV
                      10440 LITTLE PATUXENT PARKWAY SUTE 1000
                      COLUMBIA, MD 21044


                      MEDLINE INDUSTRIES, INC
                      DEPT 1080 PO BOX 121080
                      DALLAS, TX 75312-1080


                      MEDSTAR HOLDINGS, LLC
                      2300 W MCDERMOTT STE 200-199
                      PLANO, TX 75025


                      MEDTRONIC
                      PO BOX 848086
                      DALLAS, TX 75284-8086
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                      MEDTRONIC (AQUAMANTIS)
                      PO BOX 848086
                      DALLAS, TX 75284-8086


                      MEDTRONIC CARDIO-VASCULAR SERVICE
                      7611 NORTHLAND DRIVE NORT
                      BROOKLYN PARK, MN 55428


                      MEDTRONIC SPINE
                      PO BOX 848086
                      DALLAS, TX 75284-8086


                      MEDTRONIC USA
                      PO BOX 848086
                      DALLAS, TX 75284-8086


                      MEDTRONIC USA INC (PAIN & PACEMKR)
                      PO BOX 848086
                      DALLAS, TX 75284-8086


                      MEDUSA GROUP
                      DOMINON PLAZA 17304 PRESTON ROAD SUITE 8
                      DALLAS, TX 75252


                      MedUSA Group, LLC
                      c/o William McLaughlin
                      1565 N. Central Expwy., Suite 200
                      Richardson, TX 75080


                      MENTOR WORLDWIDE LLC
                      15600 COLLECTIONS CENTER DRIVE
                      CHICAGO, IL 60693


                      MERGE HEALTHCARE
                      PO BOX 205824
                      DALLAS, TX 75320-5824
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                      MERRY X-RAY CORPORATION
                      4909 MURPHY CANYON RD SUITE 120
                      SAN DIEGO, CA 92123


                      MICHAEL BARBER
                      PO BOX 2424
                      DESOTO, TX 75123


                      Michelle Bland
                      6837 Roberts Lane
                      Fort Worth, TX 76140


                      MICROAIRE SURGICAL INSTRUMENTS, LLC
                      LOCKBOX 9656
                      CHICAGO, IL 60693


                      MICROPORT ORTHOPEDICS
                      PO BOX 842005
                      DALLAS, TX 75248-2005


                      MIDAMERICAN ENERGY SERVICES,
                      PO BOX 8019
                      DANVENPORT, IA 52808-8019


                      MIKE PAUP
                      624 BROWING DR
                      ARLINGTON, TX 76010


                      MIRION TECHNOLOGIES (GDS) INC
                      PO BOX 101301
                      PASADENA, CA 91189-0005


                      MIZUHO OSI
                      DEPT CH 16977
                      PALATINE, IL 60055-6977
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                      MOBILE MINI I, INC.
                      PO BOX 650882
                      DALLAS, TX 75265-0882


                      MOBILE SURGICAL TECHNOLOGIES
                      17817 DAVENPORT STE 315
                      DALLAS, TX 75252-5871


                      MODERN BIOMEDICAL SERVICES, INC.
                      PO BOX 676165
                      DALLAS, TX 75267-6165


                      MONTEREY ROCHESTER
                      6825 LARMANDA ST 135
                      DALLAS, TX 75231


                      MORRISON HEALTHCARE
                      PO BOX 102289
                      ATLANTA, GA 30368-2289


                      MRS ORTHO LLC
                      6367 MCCOMMAS BLVD
                      DALLAS, TX 75214


                      MUSCULOSKELETAL TRANSPLANT FOUDATN
                      125 MAY STREET
                      EDISON, NJ 08837


                      MUTUAL OF OMAHA
                      14131 MIDWAY RD STE 1010
                      ADDISON, TX 75001


                      MYRNA GODIER
                      1106 DEER RIDGE
                      DUNCANVILLE, TX 75137
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                      MYRON DARBEY
                      113 WHITEWATER TRAIL
                      DESOTO, TX 75115


                      Nathan Cox
                      Thiebaud Remington Thornton Bailey LLP
                      Two Energy Square
                      4849 Greenville Avenue, Suite 1150
                      Dallas, TX 75206


                      NATIONAL BILLING PARTNERS
                      PO BOX 202530
                      AUSTIN, TX 78720-2530


                      National Billing Partners, LLC
                      c/o Nancy Moore
                      4515 Seton Center Parkway, Suite 240
                      Austin, TX 78759


                      National Billing Partners, LLC
                      c/o Nancy Moore
                      4515 Seton Center Parkway, Suite 240
                      Austin, TX 78759


                      NATIONAL NEUROMONITORING-DFW
                      1141 N LOOP 1604 E #105-612
                      SAN ANTONIO, TX 78232


                      NATUS MEDICAL, INC.
                      PO BOX 3604
                      CARL STREAM, IL 60132-3604


                      NAVIN, HAFFTY & ASSOCIATES
                      1900 WEST PARK DR SUITE 180
                      WESTBROUGH, MA 01581


                      NEUROPHYSIOLOGY ASSOCIATES, LLC
                      PO BOX 6766
                      ATHENS, GA 30604-6766
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                      NEVRO CORP.
                      1800 BRIDGE PKWY
                      REDWOOD CITY, CA 94065


                      NEW PIG CORPORATION
                      ONE PORK AVE
                      TIPTON, PA 16684


                      NOBILIS HEALTH
                      8080 PARK LANE SUITE 400
                      DALLAS, TX 75231


                      NUVASIVE CLINICAL SERVICES
                      PO BOX 50678
                      LOS ANGELAS, CA 90074-0678


                      NUVECTRA CORPORATION
                      PO BOX 123565
                      DALLAS, TX 75312


                      OFFICE OF THE SECRETARY OF STATE
                      PO BOX 13697
                      AUSTIN, TX 78711-3697


                      OLYMPUS AMERICA INC
                      DEPT 0600 PO BOX 120600
                      DALLAS, TX 75312-0600


                      Olympus America Inc.
                      c/o John D. Parson, Vice President FS
                      3500 Corporate Parkway
                      Center Valley, PA 18034


                      Olympus America Inc.
                      c/o John D. Parson, Vice President FS
                      3500 Corporate Parkway
                      Center Valley, PA 18034
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                      OMNICELL INC
                      PO BOX 204650
                      DALLAS, TX 75320-4650


                      ONX USA LLC
                      5900 LANDBROOK DR SUITE 100
                      MAYFIELD HEIGHTS, OH 44124


                      Optumhealth Bank, Inc.
                      2525 Lake Park Blvd.
                      Salt Lake City, UT 84120


                      ORASURE TECHNOLOGIES, INC.
                      PO BOX 780518
                      PHILADELPHIA, PA 19178-0518


                      ORTHALIGN, INC.
                      120 COLUMBIA SUITE 500
                      ALISO VIEJO, CA 92679


                      OSTEOMED CORP
                      2241 COLLECTION CENTER DR
                      CHICAGO, IL 60693


                      PALM HARBOR MEDICAL, INC.
                      3015 RIDGELINE BLVD BUILDING A
                      TRAPON SPRINGS, FL 34688


                      PARADIGM BIO DEVICES
                      PO BOX 518
                      NORWALL, MA 02061


                      PARAGON28
                      4B INVERNESS COURT EAST SUITE 280
                      ENGLEWOOD, CA 80112
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                      PARK AVENUE CAPITAL LLC
                      220 FLETCHER AVE STE 506
                      FORT LEE, NJ 07024-5063


                      PARTNERS SURGICAL OF PINE CREEK
                      220 POST OAK BLVD SUITE 1525
                      HOUSTON, TX 77056


                      PARTS SOURCE, INC.
                      PO BOX 645186
                      CINCINNATI, OH 45264-5186


                      PATIENTCO HOLDINGS, INC.
                      3333 PIEDMOND RD NE SUITE 600
                      ATLANTA, GA 30305


                      PATSY TIMBS
                      3104 WALNUT HILL
                      DALLAS, TX 75229


                      PAULINE TAMEZ
                      1909 SURREY CIRCLE
                      GRAND PRAIRIE, TX 75050


                      Peak, LLC, as Representative
                      170 West Shirley Avenue, Suite 207
                      Warrenton, VA 20186


                      PEOPLE 2.0 GLOBAL LP
                      PO BOX 536853
                      ATLANTA, GA 30353-6853


                      PHILIPS HEALTHCARE
                      PO BOX 100355
                      ATLANTA, GA 30384-0355
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                      PHYSICIAN SYNERGY GROUP, LLC
                      5605 N MacArthur Blvd, Suite 310
                      Irving, TX 75038


                      Physician Synergy Group, LLC
                      5605 North Macarthur Blvd.
                      Irving, TX 75038


                      Physician Synergy Group, LLC
                      5605 North Macarthur Blvd.
                      Irving, TX 75038


                      Physician Synergy Group, LLC
                      5605 North Macarthur Blvd.
                      Irving, TX 75038


                      PINE CREEK SPV, LLC
                      9032 Harry Hines Blvd
                      Dallas, TX


                      PINNACLE MEDICAL SUPPLY
                      6303 N WICKHAM RD STE 130-388
                      MELBOURNE, FL 32940


                      PITNEY BOWES GLOBAL FINANCIAL
                      PO BOX 371877
                      PITTSBURGH, PA 15250-7887


                      PMT CORPORATION
                      PO BOX 371887
                      PITTSBURGH, PA 15250-7887


                      PNC EQUIPMENT FINANCE LLC
                      PO BOX 51657
                      LOS ANGELAS, CA 90051-5957
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                      PRECISION DYNAMICS CORPORATION,
                      PO BOX 71549
                      CHICAGO, IL 60694-1995


                      PRESTONWOOD ANESTHESIA
                      2501 HERBRON PARKWAY SUITE 100C
                      CARROLLTON, TX 75010


                      Prime Alliance Bank
                      1868 South 500 West
                      Woods Cross, UT 84087


                      PROPATH Lab SERVICES, LLP
                      DEPT 41074 PO BOX 660811
                      DALLAS, TX 75266-0811


                      PROVIDENCE MEDICAL TECHNOLOGY,INC.
                      PO BOX 74008711
                      CHICAGO, IL 60674-7400


                      PSG Mid-Cities Medical Center, LLC
                      5605 North Macarthur Blvd.
                      Irving, TX 75038


                      PSG Mid-Cities Medical Center, LLC
                      5605 North Macarthur Blvd.
                      Irving, TX 75038


                      PSG Mid-Cities Medical Center, LLC
                      5605 North Macarthur Blvd.
                      Irving, TX 75038


                      PSG-PINE CREEK MANAGEMENT, LLC
                      BBVA Compass Plaza 2200 Post Oak Blvd, S
                      Houston, TX 77056
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                      QUEST DIAGNOSTICS
                      PO BOX 841725
                      DALLAS, TX 75284-1725


                      R&D SYSTEMS
                      614 MCKINLEY PLACE NE
                      MINNEAPOLIS, MN 55413


                      RACKSPACE
                      PO BOX 730759
                      DALLAS, TX 75373-0759


                      RADIOLOGY ASSOCIATES OF
                      816 W CANNON STREET
                      FORTH WORTH, TX 76104


                      RADNTX C/O
                      816 W CANNON STREET
                      FORTH WORTH, TX 76104


                      RAJANIKANTH ERRABELLY
                      1024 SAN JACINTO DR #1627
                      IRVING, TX 75063


                      RAMON LOPEZ
                      5505 JANET LANE
                      COLLEYVILLE, TX 76034


                      RAPID ORTHOPEDIC
                      3810 MELCER DR STE 103
                      ROWLETT, TX 75088


                      REGINA NELSON
                      4791 W LEBETTER DR #1902
                      DALLAS, TX 75236
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                      RELAY HEALTH, INC.
                      PO BOX 98347
                      CHICAGO, IL 60693-8347


                      RICHARD ALEXANDER, MD
                      306 E. RANDOL MILL ROAD #136
                      ARLINGTON, TX 76011


                      Ricoh USA, Inc.
                      70 Valley Stream Parkway
                      Malvern, PA 19355


                      RICOH USA, INC.
                      PO BOX 660342
                      DALLAS, TX 75266-0342


                      Ricoh USA, Inc.
                      70 Valley Stream Parkway
                      Malvern, PA 19355


                      ROBERT HALF TECHNOLOGY
                      PO BOX 743295
                      LOS ANGELAS, CA 90074-3295


                      ROCHE DIAGNOSTICS CORPORATION
                      PO BOX 660367
                      DALLAS, TX 75266-0367


                      ROGER HAMILTON
                      2025 LAKEPOINTE DRIVE #3F
                      LEWISVILLE, TX 75057


                      Roland Witherspoon
                      The Witherspoon Law Group, PLLC
                      7290 Crosswater Drive
                      Tyler, TX 75703
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                      RONALD PATTERSON
                      316 FOREST GROVE DRIVE
                      RICHARDSON, TX 75083


                      ROSA GOBEA
                      3315 NW 31ST STREET
                      FORTH WORTH, TX 76106


                      Ryan A. Starnes
                      Libby Sparks Willis Starnes PLLC
                      5950 Berkshire Lane, Suite 200
                      Dallas, TX 75225


                      SAINT CAMILLUS MEDICAL CENTER
                      1612 HURST TOWN CENTER DRIVE
                      HUST, TX 76054


                      Saint Camillus Medical Center
                      5605 North Macarthur Blvd.
                      Irving, TX 75038


                      Saint Camillus Medical Center
                      5605 North Macarthur Blvd.
                      Irving, TX 75038


                      Saint Camillus Medical Center
                      5605 North Macarthur Blvd.
                      Irving, TX 75038


                      SAMANTHA C GARRISON
                      103 W. WHITEWRIGHT ROAD
                      SAVOY, TX 75479


                      SAMANTHA SCAMARDO
                      6421 NIMTZ
                      FORTH WORTH, TX 76114
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                      SANGEA LOWE
                      11345 NEWKIRK STREET #1084
                      DALLAS, TX 75229


                      SBS ADMINISTRATIVE SERVICES
                      8502 HUEBNER STE 300
                      SAN ANTONIO, TX 78268


                      SCULPT MARKETING
                      7312 LOUETTA RD B118 #218
                      SPRING, TX 77379


                      SEAN HARRIS
                      4062 N BELTLINE ROAD # 201
                      IRVING, TX 75038


                      SEASPINE SALES LLC
                      PO BOX 207146
                      DALLAS, TX 75320-7146


                      SENTINAL PLAN LIFE INS.
                      PO BOX 981710
                      EL PASO, TX 79998


                      SHAHINA BEGUM
                      8257 RANCH VIEW DR #3109
                      IRVING, TX 75063


                      SHERWIN WILLIAMS
                      3412 OAK LAWN AVENUE
                      DALLAS, TX 75219


                      SIEMENS FINANCIAL SERVICES
                      PO BOX 2083
                      CARL STREAM, IL 60132-2083
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                      SIEMENS MEDICAL SOLUTIONS USA, INC.
                      PO BOX 120001-DEPT 0733
                      DALLAS, TX 75312-0733


                      SIGNATURE GARMENT CARE
                      4830 LAKAWANA STREET
                      DALLAS, TX 75247


                      SILVERLEAF SURGICAL LLC
                      1514 CARNATION STREET
                      PROSPER, TX 75078


                      SKELETAL DYNAMICS LLC
                      LOCKBOX 9492 PO BOX 70280
                      PHILADELPHIA, PA 19176-0280


                      SLR MEDICAL CONSULTING
                      4100 HARRY HINES SUITE 300
                      DALLAS, TX 75219


                      SMART CARE EQUIPMENT SOLUTIONS
                      PO BOX 74008980
                      CHICAGO, IL 60674-8980


                      Smartsurg Medical Supply LLC
                      14665 Midway Road, Suite 140
                      Addison, TX 75001


                      SMARTSURG MEDICAL SUPPLY LLC
                      14665 MIDWAY RD SUITE 140
                      ADDISON, TX 75001


                      Smith & Nephew Capital
                      c/o Stephen V. Alpeter, COO
                      6500 City West Parkway, Suite 401
                      Eden Prairie, MN 55344
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                      SMITH & NEPHEW CAPITAL
                      6500 CITY PARKWAY STE 401
                      EDEN PRARIE, MN 55344


                      SMITH AND NEPHEW INC.
                      5600 CLEARFORK MAIN STREET SUITE 600
                      FORTH WORTH, TX 76109


                      SMITH AND NEPHEW ORTHOPAEDICS
                      PO BOX 205651
                      DALLAS, TX 75320-5651


                      SMITH AND NEPHEW, INC
                      PO BOX 951605
                      DALLAS, TX 75395-1605


                      SMITH MEDICAL ASD INC.
                      PO BOX 7247-7784
                      PHILADELPHIA, PA 19170-7784


                      Softchoice Corporation
                      314 W. Superior, Suite 301
                      Chicago, IL 60654


                      Softchoice Corporation
                      314 W. Superior, Suite 301
                      Chicago, IL 60654


                      SPINAL ELEMENTS
                      DEPT 3885 PO BOX 123885
                      DALLAS, TX 75312-3885


                      SPINAL ELEMENT (AMENDIA)
                      DEPT 3885 PO BOX 123885
                      DALLAS, TX 75312-3885
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                      SPINE FRONTIER
                      350 MAIN STREET 3RD FLOOR
                      MALDEN, MA 02148


                      SPINE STAR, LLC
                      908 AUDELLIA RD STE 200 PMB 338
                      RICHARDSON, TX 75081


                      SPINE WAVE, INC
                      PO BOX 347418
                      PITTSBURGH, PA 15251-4418


                      SPINEART USA INC
                      8583 IRVINE CENRTER DRIVE #205
                      IRVING, CA 92618


                      Spirit Master Funding II, LLC
                      2727 N. Harwood Street, Suite 300
                      Dallas, TX 75201


                      Spirit Master Funding II, LLC
                      c/o Sarah A. Kubiak, Esq.
                      16767 North Perimeter Drive, Suite 210
                      Scottsdale, AZ 85260-1042


                      STACY SYSTEMS INC
                      501 POST OAK DR
                      NEWARK, TX 76071


                      STAR DELIVERY
                      PO BOX 3613
                      HOUSTON, TX 77253


                      STATE FARM MUTUAL AUTOMOBILE
                      PO BOX 339403
                      GREENLEY, CO 80633
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                      STELKAST
                      PO BOX 640773
                      PITTSBURGH, PA 15264-0773


                      STEPHEN SEXTON
                      104 PALMINO ST
                      CRANDALL, TX 75114


                      STERICYCLE
                      PO BOX 6575
                      CAROL STREAM, IL 60197-6575


                      STERIS INSTRUMENT MANAGEMENT
                      PO BOX 531809
                      ATLANTA, GA 30353-1809


                      STERIS Instrument Management Svcs.
                      PO BOX 531809
                      ATLANTA, GA 30353-1809


                      STEVE ALLEN
                      3118 OVERLOOK CIRCLE
                      LEWISVILLE, TX 75077


                      STRYKER COMMUNICATIONS
                      22491 NETWORK PLACE
                      CHICAGO, IL 60673


                      STRYKER COMMUNICATIONS
                      22491 NETWORK PLACE
                      CHICAGO, IL 60673


                      STRYKER ENDOSCOPY
                      PO BOX 93276
                      CHICAGO, IL 60673-3276
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                      STRYKER FLEX FINANCIAL
                      25652 NETOWRK PLACE
                      CHICAGO, IL 60673-1256


                      STRYKER INSTRUMENTS
                      PO BOX 70119
                      CHICAGO, IL 60673-0119


                      STRYKER ORTHOPAEDICS
                      PO BOX 93213
                      CHICAGO, IL 60673-3213


                      Stryker Sales Corporation
                      c/o Lucas Wilson
                      1901 Romence Road Parkway
                      Portage, MI 49002


                      STRYKER SALES CORPORATION
                      PO BOX 93276
                      CHICAGO, IL 60673-3276


                      Stryker Sales Corporation
                      c/o Devon Ivy
                      1901 Romence Road Parkway
                      Portage, MI 49002


                      STRYKER SPINE
                      21912 NETWORK PLACE
                      CHICAGO, IL 60673-1912


                      SUPERIOR VISION INSURANCE, INC.
                      PO BOX 201389
                      DALLAS, TX 75320-1839


                      SURGENTEC, LLC
                      7601 N. FEDERAL HIGHWAY SUITE 150A
                      BOCA RATON, FL 33487
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                      SURGICAL NOTES, MDP, LP
                      3100 MONTICELLO AVE SUITE 450
                      DALLAS, TX 75205


                      SYNERGY SURGICAL
                      701 E PLANO PKWY STE 506
                      PLANO, TX 75074


                      SYNTER RESOURCE
                      5935 Rivers Ave, Ste 102
                      Charleston, SC 29406


                      Tatum
                      PO BOX 847872
                      DALLAS, TX 75284-7872


                      TECH PLAN INC.
                      717 TAYLOR DRIVE
                      PLANO, TX 75074


                      Teresa West
                      c/o Bill Liebbe
                      The Liebbe Firm
                      805 S. Broadway
                      Tyler, TX 75701


                      Texas Comptroller of Public Accounts
                      Revenue Acctg Div - Bankruptcy Section
                      P.O. Box 13528
                      Austin, TX 78711-3528


                      TEXAS TECH UNIVERSITY HEALTH
                      SCIENCE CENTER 3601 4TH STREET MS 7755
                      LUBBOX, TX 79430


                      Texas Workforce Commission
                      Tax-Collections
                      101 E. 15th Street
                      Austin, TX 78778-0001
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                      THE DRS NO 1 FLP
                      5903 TWINS COVES
                      DALLAS, TX 75248


                      THE STAYWELL COMPANY,LLC
                      PO BOX 90477
                      CHICAGO, IL 60696-0477


                      Theia Capital II, LLC
                      951 Yamato Road, Suite 160
                      Boca Raton, FL 33431


                      THYSSENKRUPP ELEVATOR CORP
                      PO BOX 933004
                      ATLANTA, GA 31193-3004


                      TIME WARNER CABLE
                      PO BOX 60074
                      CITY OF INDUSTRY, CA 91716-0074


                      TIMOTHY THOMASON MD
                      4008 MARQUETTE STREET
                      DALLAS, TX 75225


                      TITAN ORTHOPAEDIC SALE
                      16175 ADDISON ROAD
                      ADDISON, TX 75001


                      TITAN SPINE, INC.
                      6140 W. EXECUTIVE DRIVE SUITE A
                      MEQUON, WI 53092


                      TITAN TECH, INC.
                      PO BIOX 822184
                      NORTH RICHLAND HILLS, TX 76182
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                      TONYA MOORE
                      919 VEDRAL
                      CEDAR HILL, TX 75104


                      TORNIER INC
                      PO BOX 4631
                      HOUSTON, TX 77210-4631


                      TRACY BARKER
                      6517 FALCON STREET
                      ROWLETT, TX 75089


                      TRACY HARRIS
                      415 THRUSH AVE
                      DUNCANVILLE, TX 75116


                      TRANSITION MEDICAL EQUIPMENT
                      15 MIRROR RIDGE DRIVE
                      THE WOODLANDS, TX 77382


                      TRANSPLANT SERVICES CENTER
                      5323 HARRY HINES BLVD
                      DALLAS, TX 75390-2609


                      TRICE MEDICAL
                      PO BOX 392743
                      PITTSBURGH, PA 15251-9747


                      TRIMED
                      PO BOX 55189
                      VELENCIA, CA 91385-0189


                      TRITIN MEDICAL DISTRIBUTION
                      112 N 8TH STREET SUITE A
                      MIDLOTHIAN, TX 75234
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                      TYPENEX MEDICAL, LLC
                      303 E WACKER DRIVE SUITE 1030
                      CHICAGO, IL 60601


                      U.S. Bank Equipment Finance
                      a Division of U.S. Bank National Assoc.
                      1310 Madrid Street
                      Marshall, MN 56258


                      U.S. Infusion Inc.
                      4904 WILLIAMS RD
                      BENBROOK, TX 76116


                      ULRICH MEDICAL USA
                      18221 EDISON AVE
                      CHESTERFIELD, MO 63005


                      UNI FORMS AND SERVICES
                      816 RIDGEFIELD DR
                      PLANO, TX 75075-8717


                      UNITED LABORATORIES
                      PO BOX 410
                      ST CHARLES, IL 60174-0410


                      UNUM LIFE INSURANCE COMPANY
                      PO BOX 409548
                      ATLANTA, GA 30384-9548


                      UPS FREIGHT
                      PO BOX 7247-0244
                      PHILADELPHIA, PA 19170-0001


                      VALERA MOON
                      1722 SANTA CRUZ
                      GRAND PRAIRIE, TX 75051
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                      VALLEY SURGICAL, INC
                      633 S ANDREWS AVE SUITE 400
                      FORT LAUDERDALE, FL 33301


                      Varilease Finance, Inc.
                      6340 South 3000 East, Suite 400
                      Salt Lake City, UT 84121


                      VAXSERVE, INC
                      12566 COLLECTIONS CENTER DRIVE
                      CHICAGO, IL 60693


                      VERATHON MEDICAL
                      PO BOX 935117
                      ATLANTA, GA 31193-5117


                      VERSACOR
                      PO BOX 93809
                      SOUTHLKAKE, TX 76092


                      VERTIV SERVICES, INC
                      PO BOX 70474
                      CHICAGO, IL 60673


                      VICTORIA GREGG-IRVING
                      7434 SANDHURST LAND
                      NORTH RICHLAND HILLS, TX 76182


                      VILEX, INC.
                      111 MOFFITT STREET
                      MCMINNVILLE, TN 37110


                      Vonetta Carter
                      7290 Crosswater Drive
                      Tyler, TX 75703
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                      VYAIRE MEDICAL, INC
                      26125 NORTH RIVERWOODS BLVD
                      METTAWA, IL 60045


                      WALLACE BEAVERS
                      130 GREER RD
                      POLLOCK, LA 71467


                      WASTE CONNECTIONS OF TEXAS
                      PO BOX 742692
                      CINCINNATI, OH 45274-2695


                      Wendy H. Hermes
                      Thiebaud Remington Thornton Bailey LLP
                      4849 Greenville Avenue, Suite 1150
                      Dallas, TX 75202


                      WERFEN USA, LLC
                      PO BOX 347934
                      PITTSBURGH, PA 15251-4934


                      WHITNEY SAWYER
                      627 WESTWOOD DRIVE
                      RICHARDSON, TX 75080


                      William M. Carter II, MD
                      7246 Beranger Drive
                      Irving, TX 75063


                      Winthrop Resources Corporation
                      c/o David Laschenski, VP Workouts
                      TCF Capital Solutions
                      11100 Wayzata Boulevard, Suite 801
                      Hopkins, MN 55305


                      WINTHROP RESOURCES CORPORATION
                      11110 WAYZATA BOULVARD SUITE 800
                      MINETONKA, MN 55305
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                      Winthrop Resources Corporation
                      c/o David Laschenski, VP Workouts
                      TCF Capital Solutions
                      11100 Wayzata Boulevard, Suite 801
                      Hopkins, MN 55305


                      WOLTERS KLUWER HEALTH INC
                      62526 COLLECTIONS CENTER DRIVE
                      CHICAGO, IL 60693-0625


                      WRIGHT MEDICAL
                      PO BOX 503482
                      ST. LOUIS, MO 63150-3482


                      XO COMMUNICATIONS -VERIZON
                      PO BOX 15043
                      ALBANY, NY 12212-5043


                      XTANT MEDICAL
                      BACTERIN INTERNATIONAL,INC DEPT CH 16872
                      PALATINE, IL 60055-6872


                      YAO YAO KONG
                      600 ALABASTER PLACE
                      CEDAR HILL, TX 75104


                      YONG LEE
                      3405 TIMBERWOOD CIRCLE #2121
                      ARLINGTON, TX 76015


                      YOSIEF ZEGGAI
                      3427 HIGH VISTA DR
                      DALLAS, TX 75234


                      ZIMMER BIOMET
                      PO BOX 840166
                      DALLAS, TX 75284-0166
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                      ZIMMER BIOMET (ETEX)
                      675 MASSACHUSETTS AVE 12 FIR.
                      CAMBRIDGE, MA 02139


                      ZIMMER BIOMET SPINE
                      75 REMITTANCE DRIVE STE 6931
                      CHICAGO, IL 60675-6931


                      ZIMMER KNEE CREATIONS INC.
                      841 SPRINGDALE DRIVE
                      EXTON, PA 19241
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                                                               United States Bankruptcy Court
                                                                     Northern District of Texas
 In re      Pine Creek Medical Center, LLC                                                              Case No.
                                                                                 Debtor(s)              Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Pine Creek Medical Center, LLC in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 September 13, 2019                                                  /s/ Buffey E. Klein
 Date                                                                Buffey E. Klein 24032515
                                                                     Signature of Attorney or Litigant
                                                                     Counsel for Pine Creek Medical Center, LLC
                                                                     Husch Blackwell LLP
                                                                     1900 N. Pearl Street, Suite 1800
                                                                     Dallas, TX 75201-2467
                                                                     214-999-6152 Fax:214-999-6100
                                                                     buffey.klein@huschblackwell.com




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